

Smith v Smith (2024 NY Slip Op 02476)





Smith v Smith


2024 NY Slip Op 02476


Decided on May 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 3, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CURRAN, MONTOUR, GREENWOOD, AND NOWAK, JJ.


992 CA 22-01747

[*1]CHRISTOPHER SMITH AND MICHAEL SMITH, AS TRUSTEES OF THE JAY AND PATRICIA SMITH IRREVOCABLE TRUST, PLAINTIFFS-RESPONDENTS,
vANNA J. SMITH, AS TRUSTEE OF THE THEODORE P. SMITH INCOME ONLY IRREVOCABLE TRUST, AND AS EXECUTOR OF THE ESTATE OF THEODORE P. SMITH, DECEASED, DEFENDANT-APPELLANT. (APPEAL NO. 2.) 






HANCOCK ESTABROOK, LLP, SYRACUSE (JANET D. CALLAHAN OF COUNSEL), FOR DEFENDANT-APPELLANT. 
BOND SCHOENECK &amp; KING, PLLC, SYRACUSE (DANIEL J. PAUTZ OF COUNSEL), FOR PLAINTIFFS-RESPONDENTS. 


	Appeal from an order of the Supreme Court, Herkimer County (John H. Crandall, A.J.), entered June 17, 2022. The order, inter alia, ordered the public sale of certain real property. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Smith v Smith ([appeal No. 4] — AD3d — [May 3, 2024] [4th Dept 2024]).
Entered: May 3, 2024
Ann Dillon Flynn
Clerk of the Court








